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                       UNITED STATES COURT OF APPEALS
                            FOR THE THIRD CIRCUIT



                                      No. 22-1733


                               ZACHARY GREENBERG

                                            v.

JERRY M. LEHOCKY, in his official capacity as Board Chair of the Disciplinary Board
  of the Supreme Court of Pennsylvania; DION G. RASSIAS, in his official capacity as
   Board Vice-Chair of the Disciplinary Board of the Supreme Court of Pennsylvania;
 JOSHUA M. BLOOM, in his official capacity as Member of the Disciplinary Board of
    the Supreme Court of Pennsylvania; CELESTE L. DEE, in her official capacity as
  Member of the Disciplinary Board of the Supreme Court of Pennsylvania; LAURA E.
   ELLSWORTH, in her official capacity as Member of the Disciplinary Board of the
Supreme Court of Pennsylvania; CHRISTOPHER M. MILLER, in his official capacity as
 Member of the Disciplinary Board of the Supreme Court of Pennsylvania; ROBERT J.
   MONGELUZZI, in his official capacity as Member of the Disciplinary Board of the
 Supreme Court of Pennsylvania; GRETCHEN A. MUNDORFF, in her official capacity
 as Member of the Disciplinary Board of the Supreme Court of Pennsylvania; JOHN C.
  RAFFERTY, JR., in his official capacity as Member of the Disciplinary Board of the
Supreme Court of Pennsylvania; HON. ROBERT L. REPARD, in his official capacity as
  Member of the Disciplinary Board of the Supreme Court of Pennsylvania; DAVID S.
 SENOFF, in his official capacity as Member of the Disciplinary Board of the Supreme
 Court of Pennsylvania; SHOHIN H. VANCE, in his official capacity as Member of the
 Disciplinary Board of the Supreme Court of Pennsylvania; THOMAS J. FARRELL, in
his official capacity as Chief Disciplinary Counsel of the Office of Disciplinary Counsel;
RAYMOND S. WIERCISZEWSKI, in his official capacity as Deputy Chief Disciplinary
                       Counsel of the Office of Disciplinary Counsel,
                                                                   Appellants


                             (D.C. Civ. No. 2-20-cv-03822)


                          SUR PETITION FOR REHEARING
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Present: CHAGARES, Chief Judge, JORDAN, HARDIMAN, SHWARTZ, KRAUSE,
RESTREPO, BIBAS, PORTER, MATEY, PHIPPS, FREEMAN, MONTGOMERY-
REEVES, CHUNG, SCIRICA*, and AMBRO*, Circuit Judges


       The petition for rehearing filed by Appellee in the above-entitled case having been

submitted to the judges who participated in the decision of this Court and to all the other

available circuit judges of the circuit in regular active service, and no judge who

concurred in the decision having asked for rehearing, and a majority of the judges of the

circuit in regular service not having voted for rehearing, the petition for rehearing by the

panel and the Court en banc, is denied.


                                           BY THE COURT,


                                           s/Anthony J. Scirica
                                           Circuit Judge

Dated: October 3, 2023
Amr/cc: All counsel of record




*As to panel rehearing only.
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